83 F.3d 414
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Curtis E. CRAWFORD, Plaintiff-Appellant,v.Jim BAILEY, Deputy U.S. Marshal, Personal and Professionalcapacities, Defendant-Appellee.
    No. 95-7646.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 15, 1996.Decided:  April 25, 1996.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.   Rebecca B. Smith, District Judge.  (CA-95-745-2)
      Curtis E. Crawford, Appellant Pro Se.
      E.D.Va.
      DISMISSED.
      Before ERVIN and MOTZ, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order overruling Appellant's objection to the imposition of a partial filing fee.   The order appealed from did not dismiss the action.   We dismiss the appeal for lack of jurisdiction because the order is not appealable.   This court may exercise jurisdiction only over final orders, 28 U.S.C. § 1291 (1988), and certain interlocutory and collateral orders.  28 U.S.C. § 1292 (1988);  Fed.R.Civ.P. 54(b);  Cohen v. Beneficial Indus.   Loan Corp., 337 U.S. 541 (1949).   The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      2
      We deny leave to proceed in forma pauperis and dismiss the appeal as interlocutory.   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    